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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ATANACIO BARRIENTOS,                              §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §           C.A. No. 4:16-cv-03635
                                                  §
THE LINCOLN NATIONAL LIFE                         §
INSURANCE COMPANY,                                §
                                                  §
       Defendant.                                 §    Defendant.

                              JOINT NOTICE OF SETTLEMENT

       Plaintiff Atanacio Barrientos and Defendant The Lincoln National Life Insurance

Company, comprising all of the parties to this action, hereby inform the Court that they have

reached an agreement in principle to resolve all of the matters in dispute in this case. The parties

respectfully request that the Court enter an order staying any deadlines in this case and giving the

parties 30 days to file the dismissal papers.

                                                Respectfully submitted,

                                                By:    /s/ Anis Damani
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                                                ATTORNEY FOR PLAINTIFF
                                                ATANACIO BARRIENTOS




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                                          By:     /s/ Andrew C. Whitaker
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                                          ATTORNEYS FOR DEFENDANT
                                          THE LINCOLN NATIONAL LIFE
                                          INSURANCE COMPANY

                              CERTIFICATE OF SERVICE

       I hereby certify that, on March 9, 2017, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrant: Mr. Anis Damani, Damani Law Firm, PLLC,
8303 Southwest Freeway, Suite 111, Houston, Texas 77074.

                                          /s/ Andrew C. Whitaker
                                          Andrew C. Whitaker




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